
992 So.2d 1020 (2008)
Linda Rholdon CLEMENT and Alan J. Rholdon, Individually and as Representatives of the Estate of Lori Ann Rholdon
v.
STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY, Leia T. Oubre, Regina W. Khouri, Edmond J. Oubre, Jr., Kyle E. Grace, Reginald Grace, Louisiana State University, Sentinel Insurance Company, Ltd., ABC Insurance Company, DEF Insurance Company, and GHI Insurance Company.
No. 2008-C-1503.
Supreme Court of Louisiana.
October 3, 2008.
Denied.
